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CO-290
Notice of Appeal Criminal Rev. 3/88

United States District Court for the District of Columbia

UNITED STATES OF AMERICA

21-CR-175

VS. Criminal No.

ETHAN NORDEAN, ET AL

NOTICE OF APPEAL

Name and address of appellant:
JOSEPH BIGGS
D.C. Central Detention Facility

1901 D. St. SE
Washington, DC 20003
Name and address of appellant’s attorney:

Norman A. Pattis, Esq.
Pattis & Associates, LLC

383 Orange St.
New Haven, CT 06511

Offense: 418 U.S.C. Sections 2384, 1512(k), 1512(c)(2), 372, 231(a)(3), and 1361
Concise statement of judgment or order, giving date, and any sentence:

Sentence imposed on 08/31/23; 204 months

Name and institution where now confined, if not on bail: DC Jail

1, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.

September 12, 2023 /s/ Joe Biggs

DATE rN te. (92, ~

ATTORNEY FOR APPEEEANT ~

GOVT. APPEAL, NO FEE

CJA, NO FEE

PAID USDC FEE d

PAID USCA FEE a
Does counsel wish to appear on appeal? yes[\/] no[_] (application pending)
Has counsel ordered transcripts? yes[_] NO

Is this appeal pursuant to the 1984 Sentencing Reform Act? yves[y/ | NO []
